      Case 4:23-cv-00425-JM          Document 119        Filed 12/02/24     Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION

JODY CUMMINS, Estate of John Frank Gibson Jr.,
Deceased, by and through its Court Appointed Executrix
on behalf of JOHN FRANK GIBSON, JR, et al,                                PLAINTIFFS

V.                                  4:23CV00425 JM

JOHN FRANK GIBSON, III                                                     DEFENDANT

                                  ORDER OF DISMISSAL

      This case is dismissed without prejudice. The Clerk is directed to close the case.

      IT IS SO ORDERED this 2nd day of December, 2024.



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                                                    James M. Moody Jr.
                                                    United States District Judge
